                                                                                                  0107
                     Case 4:24-cv-40141 Document 1-4 Filed 11/04/24 Page 1 of 1
                                        Exhibit 2
Please resign
From Joe Villatico <joe@greatesthitscc.com>

Date      Friday, September 22nd, 2023 at 12:07

PM



Patrick


Please resign. The share price changed due to David Lahar shares being dissolved which just brought everyone
else’s share value up but diluted the shares so needed to change the value to equal our valuation we have been
raising on the entire time.




JOE VILLATICO (he,his,him)
Chief Executive Officer


c 508-450-2720
e joe@greatesthitscc.com
w greatesthitscc.com




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